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                          No. 23-2669


    IN THE UNITED STATES COURT OF APPEALS
            FOR THE THIRD CIRCUIT


                    JOSE MONTANEZ,

                      Plaintiff-Appellant,

                                v.

                    PAULA PRICE, et al.,

                    Defendants-Appellees.


           On Appeal from the U.S. District Court
            for the Middle District of Pennsylvania,
          No. 3:22-CV-01267, Hon. Robert D. Mariani


                APPELLANT’S RESPONSE


                                     Samuel Weiss
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          RESPONSE TO TEXT ORDER OF SEPTEMBER 16, 2024

      Mr. Montanez does not wish to proceed pro se. His representations to the Court

that he was proceeding pro se were drafted and mailed before undersigned counsel

entered an appearance to represent him and he wishes to proceed with undersigned

counsel. Inasmuch as any mention of his pro se status were considered by this Court as

a request to proceed pro se, he hereby consents to the withdrawal or denial of said

motion.


September 19, 2024

                                       Respectfully submitted,

                                              /s/ Samuel Weiss
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                         CERTIFICATE OF SERVICE


      I certify that on September 19, 2024, I electronically transmitted the foregoing

brief to the Clerk of the Court using the appellate CM/ECF System, causing it to be

served on counsel of record, who are all registered CM/ECF users.


                                                    /s/ Samuel Weiss
                                                    Samuel Weiss
